Case 2:21-cv-01232-GRB-ST Document 22 Filed 02/24/22 Page 1 of 1 PageID #: 113

                                       CIVIL MINUTE ENTRY



BEFORE:                          Magistrate Judge Steven L. Tiscione


DATE:                            February 23, 2022


TIME:                            2:00 P.M.


DOCKET NUMBER(S):                CV-21-1232 (GRB)


NAME OF CASE(S):                 DOE V. LONG ISLAND MOTORS, INC. ET AL



FOR PLAINTIFF(S):                Friedman



FOR DEFENDANT(S):                Did not appear



NEXT CONFERENCE(S):              See rulings below



FTR/COURT REPORTER:              FTR 2:10 - 3:45

RULINGS FROM DAMAGES INQUEST:

Court held damages inquest. Two witnesses sworn and testified. Plaintiff will submit supplemental letter brief
by March 4, 2022.
